       Case 4:22-cv-00325-RH-MAF Document 11-6 Filed 09/12/22 Page 1 of 7




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                           Tallahassee Division


    AUGUST DEKKER, et al.,

                     Plaintiffs,
               v.                              Case No. 4:22-cv-00325-RH-MAF

    SIMONE MARSTILLER, et al.,

                     Defendants.


                    DECLARATION OF AUGUST DEKKER
        I, August Dekker, hereby declare and state as follows:

        1.    My name is August Dekker.1 I am a plaintiff in the above-captioned

action and submit this declaration in support of Plaintiffs’ Motion for a Preliminary

Injunction.

        2.    I am over the age of 18, of sound mind, and in all respects competent

to testify. I have personal knowledge of the information contained in this Declaration

and would testify completely to those facts if called to do so.

        3.    I am 28 years old, and I live in Hernando County, Florida. I have lived

in Florida since I was 10 years old, when my family moved here from California.




1
 My given, legal name is Kori Dekker. I use August Dekker as my name because it is more
consistent with who I am and my male gender identity.

                                          1
      Case 4:22-cv-00325-RH-MAF Document 11-6 Filed 09/12/22 Page 2 of 7




       4.     I am unemployed and receive Supplemental Security Income due to

disability, as I am living with debilitating rheumatoid arthritis.

       5.     I have been a Medicaid beneficiary in Florida since 2014.

       6.     I am a man who is also transgender. Although I was incorrectly

assigned the sex female at birth, my gender identity is male.

       7.     I experience and have been diagnosed with gender dysphoria due to the

significant distress caused by the disconnect between my sex assigned at birth, along

with some of my primary and secondary sex characteristics, and my gender identity.

       8.     As a child, even as early as 5 years of age, I remember feeling

uncomfortable being perceived as a girl. For example, I would always choose to

play a male character when I was roleplaying with my brothers and would also play

male characters when I would play “house.”

       9.     Around the age of 13, I was extremely distraught when I got my first

period, because it never occurred to me that I would as I was not a girl. I remember

running to my mom crying and wondering what was happening because I did not

feel that I was a girl.

       10.    However, because of my family’s religious beliefs, I felt forced to

suppress my gender identity as a child and adolescent, which caused me great

distress and anxiety.




                                           2
     Case 4:22-cv-00325-RH-MAF Document 11-6 Filed 09/12/22 Page 3 of 7




      11.    Once I graduated high school in 2012, I felt freer to explore my gender

expression and come to terms with my gender identity as a man. By 2015, I began

to socially transition and live openly as the man that I am.

      12.    Because of the affirmation I felt through my social transition, not long

after, I decided to seek out medical care. It took me a while to find a provider that

would be qualified, and I felt comfortable with. Once I found a provider at Metro

Inclusive Health in Tampa, I began working with a therapist before starting hormone

therapy. The therapist diagnosed me with gender dysphoria in 2017.

      13.    Following the diagnosis of gender dysphoria and working with and

under the care of my medical and mental health providers, I began undergoing

hormone therapy as medically necessary treatment for my gender dysphoria in 2017,

which was recommended by my providers at Metro Inclusive Health.

      14.    I have since obtained different medical and mental health providers. I

am now seeing a therapist at Solace Behavioral Health in Tampa and I obtain my

hormone therapy through Planned Parenthood in Tampa.

      15.    At present, I am being prescribed testosterone as treatment for my

gender dysphoria. I see my medical provider approximately every six months, and

I fill my prescription every month. Medicaid has covered my testosterone hormone

therapy.




                                          3
     Case 4:22-cv-00325-RH-MAF Document 11-6 Filed 09/12/22 Page 4 of 7




      16.    In addition, in consultation with and under the care of my medical and

mental health providers, I obtained top surgery as treatment for my gender dysphoria

in April 2022. This surgical treatment, which was covered by Medicaid, was

recommended by my providers as medically necessary treatment for my gender

dysphoria.

      17.    As a Medicaid beneficiary, I receive my health coverage through

Humana. Medicaid has always covered my medically necessary gender-affirming

medical care as recommended by my medical and mental health providers to treat

my gender dysphoria.

      18.    Being able to obtain hormone therapy in the form of testosterone

injections and to obtain top surgery has allowed me to bring my body into alignment

with who I am and provided a great deal of relief and comfort. It has given me the

ability to not hate myself or my body, and has brought great comfort to my life.

      19.    Having access to this medically necessary care has allowed me to be

the version of myself that I pictured growing up. It feels natural and normal for me

be able to live as the man that I am.

      20.    Following my top surgery, I was able to celebrate my birthday with

some friends outdoors in a state park.       Having a more masculine chest that

conformed with my identity allowed me to be shirtless in public for the first time




                                         4
     Case 4:22-cv-00325-RH-MAF Document 11-6 Filed 09/12/22 Page 5 of 7




ever. It was an afternoon full of joy and laughter. And I had never felt more euphoric

about my body than I did in that moment.

      21.      I understand, however, that the Florida Agency for Health Care

Administration (AHCA) has adopted a new regulation that will prohibit Medicaid

from covering medical services for the treatment of gender dysphoria. I understand

that this new regulation went into effect on August 21, 2022.

      22.      AHCA’s adoption of a new regulation prohibiting Medicaid from

covering gender-affirming care has caused me a great deal of distress and anxiety.

When I first learned of the new regulation, I felt a great sense of dread. I am very

fearful of the future, not just for me but for other trans people, particularly the

younger trans people in Florida who will no longer have access to puberty blockers

and hormone therapy that they may need.

      23.      My only source of income is my monthly Supplemental Security

Income payments of $841. I use this limited income to pay for my rent, food, and

necessities.   I simply cannot afford my medically necessary hormone therapy

without Medicaid, as I understand it would cost $60-65 per month.

      24.      I know of other Medicaid participants who were in the process of

obtaining coverage for their surgical care who are now scrambling for a way to be

able to access that medically necessary care.




                                          5
     Case 4:22-cv-00325-RH-MAF Document 11-6 Filed 09/12/22 Page 6 of 7




      25.    While I can ask and beg some family and friends for money to continue

coverage, that is neither guaranteed nor sustainable. It feels dehumanizing and

shameful to have to ask for help all the time, especially when my hormone therapy

is medically necessary health care recommended by my doctors and which Medicaid

has covered previously.

      26.    I also have experienced the physical effects of having to stop hormone

therapy for a period of time. That experience caused me to lose muscle mass, have

a higher pitched voice, and lose some of my body and facial hair to a degree that

people started perceiving me as a woman instead of the man that I am. It caused me

great discomfort and anguish to be perceived as such, and I would not want to ever

have to experience that again.

      27.    The adoption of the exclusion of gender-affirming care by AHCA,

along with actions taken by Florida’s current administration targeting transgender

people, have shaken me to my core and caused me to lose hope. It no longer feels

safe to be an out transgender person in Florida. Because of the discrimination I see

stoked by Florida’s policy decisions to target transgender people, I often worry that

someone will perceive me as transgender and decide they want to hurt me. I am

frightened about the possibility that losing access to my medically necessary gender-

affirming care will cause physical changes that will make it more likely for someone

to perceive me as transgender or more feminine. If someone perceives me as



                                         6
      Case 4:22-cv-00325-RH-MAF Document 11-6 Filed 09/12/22 Page 7 of 7




transgender or more feminine, I am afraid that they will verbally or physically assault

me.

      28.    It is incredibly stressful and debilitating to have to worry about whether

I will be able to get the medical care that I need, or whether in its absence, I will be

incorrectly perceived as female. I want to be able to spend time with my friends

outside. And I want to exist in a way that I feel safe. Everyone deserves that, and the

fact that I and so many other trans people are being denied that right now, by actions

like AHCA’s adoption of the exclusion, is very taxing.

      29.    The actions by AHCA and Florida’s state government threaten the

health and wellbeing of transgender Medicaid beneficiaries, like me.               I am

challenging AHCA’s new regulation not just to preserve my access to the health care

that I need, but also for the many other transgender Medicaid beneficiaries who will

be harmed as a result of this rule.



      I declare under penalty of perjury that the foregoing is true and correct.

Executed this __th day of September 2022.



                                               Respectfully Submitted,




                                               August Dekker


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